
Green J.
delivered the opinion of the court.
The act of 1821, ch. 68, inflicts a fine of ten dollars upon any person who shall shoot at a mark within two hundred yards of any public road of the first or second class, which shall be recovered by the informer for his own benefit. The warrant in this case did not alledge, that the shooting was at a mark; but the act of 1809, ch. 49, sec. 26, would have authorized the amendment to have been made; but as the motion to quash, was pending before the court, there was no reason for allowing the amendment, if the court saw that the warrant should be quashed for other reasons. We think the court was right in determining, that these defendants were improperly joined in the same action. The act of assembly prescribes a separate penalty against each person who may offend in the manner mentioned. A separate judgment must of necessity be rendered against each. There is no connection between different persons engaged in shooting, by which their offence becomes one, and the penalty joint. Consequently, they cannot be joined in the same suit, (1 Chitty, 98). Let the judgment be affirmed,
Judgment affirmed.
